Case 2:19-bk-14989-WB        Doc 601 Filed 02/19/20 Entered 02/19/20 10:31:36               Desc
                              Main Document    Page 1 of 12



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    Telephone: (213) 443-3000
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  8 Attorneys for Secured Creditor,
    HILLAIR CAPITAL MANAGEMENT, LLC
  9
 10                            UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 11
                                        LOS ANGELES DIVISION
 12
      In re                                            CASE NO. 2:19-bk-14989-WB
 13                                                    Jointly Administered:
      SCOOBEEZ, et al.1                                2:19-bk-14991-WB; 2:19-bk-14997-WB
 14
              Debtors and Debtors in Possession.       Chapter 11
 15
      Affects:                                         NOTICE OF EMERGENCY MOTION AND
 16                                                    EMERGENCY MOTION PURSUANT TO
           All Debtors                                LOCAL RULE 9075-1 TO FILE
 17                                                    DOCUMENTS UNDER SEAL
              Scoobeez, ONLY
 18                                                    Date:
              Scoobeez Global, Inc., ONLY              Time:
 19                                                    Dept.:    1375
              Scoobur, LLC, ONLY                                 United States Bankruptcy Court
 20                                                              Edward Roybal Federal Building
                                                                 255 E. Temple Street
 21                                                              Los Angeles, CA 90012

 22                                                    The Hon. Julia Brand

 23

 24

 25

 26      1
          The Debtors and the last four digits of their respective federal taxpayer identification
 27 numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
    (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.
 28

                                                                         Case No. 2:19-by-14989-WB
                                              EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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  1          PLEASE TAKE NOTICE that senior secured creditor Hillair Capital Management, LLC
  2 (“Hillair”) will move the Court for an order permitting it to file under seal pursuant to L.B.R.

  3 5003-2(c) and the Protective Order entered in the above-captioned action on December 23, 2019,

  4 Hillair’s Supplemental Opposition to Amazon’s Motion for an Order: (A) Determining that the

  5 Automatic Stay Does Not Require Amazon to Utilize Debtors’ Services, and (b) Modifying the

  6 Automatic Stay (the “Supplemental Opposition”), and accompanying documents.

  7          PLEASE TAKE FURTHER NOTICE that this Motion is made pursuant to 11 U.S.C. §
  8 107 (“Bankruptcy Code”), Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) 9018 and

  9 9037, and Local Bankruptcy Rules (“Local Rules”) 5003-2(c)(1) and 9075-1, which authorize the
 10 issuance of court orders protecting confidential information, permit the filing of non-public

 11 information under seal, and hearing matters on an emergency basis.

 12          PLEASE TAKE FURTHER NOTICE that this Motion is based on the accompanying
 13 Memorandum of Points and Authorities, the attached Declaration of Jennifer Nassiri (the

 14 “Declaration”), all pleadings, papers, and records on file with the Court, and such other evidence

 15 as may be presented to the Court in connection with this Motion.

 16          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9075-
 17 1(a)(8), any response to this Motion may be presented at the time of hearing, if the Court

 18 determines that a hearing is necessary.

 19

 20 DATED: February 19, 2020                     QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
 21

 22

 23                                                By
                                                     John B. Quinn
 24                                                  Crystal Nix-Hines
                                                     Eric D. Winston
 25                                                  Jennifer L. Nassiri
 26
                                                      Attorneys for Secured Creditor Hillair Capital
 27                                                   Management, LLC

 28

                                                   -2-                   Case No. 2:19-by-14989-WB
                                              EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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  1                       MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.       INTRODUCTION AND NECESSITY FOR EMERGENCY RELIEF
  3          Hillair requests an order authorizing it to file under seal Hillair’s Supplemental Opposition,

  4 the Declaration of Jennifer Nassiri (the “Declaration”), and accompanying exhibits.

  5          On October 28, 2019, Amazon Logistics, Inc. (“Amazon”) filed its Motion for an Order:

  6 (A) Determining that the Stay Does not Require Amazon to Utilize Debtor’s Services and (B)

  7 Modifying the Automatic Stay [Dkt. No. 393] (the “Stay Relief Motion”), seeking this Court’s

  8 permission to terminate its contract with the Debtor. On November 11, 2019, after Hillair, the

  9 Debtors and the Committee filed their initial oppositions to the Stay Relief Motion, Amazon filed
 10 an omnibus reply in support of the Stay Relief Motion (the “Stay Relief Reply”) [Dkt. No.430].

 11 On December 23, 2019, Amazon filed its Protective Order re: Amazon Logistics, Inc.’s Motion

 12 for Relief from Stay (the “Protective Order”) [Dkt. No. 518], designating disclosure or discovery

 13 material designated as either “CONFIDENTIAL” or “ATTORNEYS EYES ONLY” as protected

 14 material (the “Protected Material”).

 15          Hillair now seeks to seal those portions of its Supplemental Opposition, Declaration, and

 16 accompanying exhibits, which similarly quote, paraphrase, or otherwise reveal information about
 17 Protected Material.

 18          Emergency Relief is necessary because the Protective Order requires Hillair to “seek an

 19 order permitting it to file the Protected Material under seal, but may note for the Court that the

 20 Party filing such Protected Material does not qualify to be filed under seal, and the Designating

 21 Party may file its own motion requesting that the Protected Material be filed under seal.”

 22 Protective Order ¶ 11.3. Hillair’s Supplemental Opposition is due on February 19, 2020, which is

 23 today.

 24          The Court may authorize the filing under seal under 11 U.S.C. § 107(c), and it is

 25 appropriate to do so in this case.2 The Supplemental Opposition, Declaration, and accompanying

 26
         2
 27       For avoidance of doubt, Hillair takes no position on whether Amazon properly designated
    materials as “Confidential” or “Attorneys’ Eyes Only” but believes it is obligated to seek to seal
 28 pursuant to the Protective Order.

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  1 exhibits expressly reference Protected Material, which the Protective Order directs Hillair to file

  2 under seal.

  3          Further, no other party will be prejudiced. In fact, both Amazon and the Debtors have

  4 already represented they have no objection to filing the Supplemental Opposition under seal.

  5 Decl. of Jennifer Nassiri, at ¶ 3.

  6          For these reasons, Hillair requests that the Court grant the Motion on an emergency basis.

  7 II.      LEGAL STANDARD
  8          When evaluating sealing motions, the Ninth Circuit has explained that “[u]nless a

  9 particular court record is one ‘traditionally kept secret,’ [there is] a ‘strong presumption in favor of
 10 access,’” to court records, and “ [a] party seeking to seal a judicial record [] bears the burden of

 11 overcoming this strong presumption by meeting the ‘compelling reasons’ standard.” Kamakana v.

 12 City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). However, the standard for sealing

 13 discovery material under Rule 26(c) is “good cause” and not the “compelling reasons” standard, a

 14 distinction that respects the “different interests [that] are at stake.” In re Apply 2 Save, Inc., 2011

 15 WL 1363771, at *2 (Bankr. D. Idaho Apr. 11, 2011) (citing Kamakana, 447 F.3d at 1178–79).

 16 The sealing request must “be narrowly tailored to seek sealing only of sealable material.” Civil
 17 L.R. 79-5(b).

 18          Further, Local Bankruptcy Rule 5003-2(c)(1) requires that “[i]f filing under seal is

 19 requested, a written motion and proposed order must be presented to the judge along with the

 20 paper submitted for filing under seal.” LBR 5003-2(c)(1).

 21 III.     THE COURT SHOULD SEAL THE IDENTIFIED PORTIONS OF HILLAIR’S
 22          SUPPLEMENTAL OPPOSITION
 23          The Court should seal Hillair’s Supplemental Opposition, Declaration, and accompanying

 24 exhibits because they refer to Protected Material under the Protective Order. Good cause exists to

 25 seal the portions of the Supplemental Opposition and Hillair believes it is obligated to seal these

 26 materials. Further, Hillair has narrowly tailored this request to cover just those portions of the
 27 documents that explicitly disclose Protected Material under the Protective Order. Lastly, both

 28

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  1 Amazon and the Debtors have represented that they have no objection to Hillair filing its

  2 Supplemental Opposition under seal.

  3 IV.     CONCLUSION
  4         For the foregoing reasons, Hillair requests that the Court enter an order authorizing it to

  5 file under seal the Supplemental Opposition and any accompanying exhibits containing Protected

  6 Material.

  7

  8

  9 DATED: February 19, 2020                     QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
 10

 11

 12                                               By
                                                    John B. Quinn
 13                                                 Crystal Nix-Hines
                                                    Eric D. Winston
 14                                                 Jennifer L. Nassiri
 15
                                                     Attorneys for Secured Creditor Hillair Capital
 16                                                  Management, LLC

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                                                   -3-                   Case No. 2:19-by-14989-WB
                                              EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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                              Main Document    Page 6 of 12



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  3 Eric Winston (Bar No. 202407)
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  4 Jennifer L. Nassiri (Bar No. 209796)
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  8 Attorneys for Secured Creditor,
    HILLAIR CAPITAL MANAGEMENT, LLC
  9
 10                            UNITED STATES BANKRUPTCY COURT
 11                             CENTRAL DISTRICT OF CALIFORNIA

 12                                     LOS ANGELES DIVISION

 13 In re                                             CASE NO. 2:19-bk-14989-WB
                                                      Jointly Administered:
 14 SCOOBEEZ, et al.1                                 2:19-bk-14991-WB; 2:19-bk-14997-WB

 15          Debtors and Debtors in Possession.       Chapter 11

 16 Affects:                                          DECLARATION OF JENNIFER NASSIRI
                                                      IN SUPPORT OF HILLAIR CAPITAL
 17       All Debtors                                MANAGEMENT’S NOTICE OF
                                                      EMERGENCY MOTION AND
 18          Scoobeez, ONLY                           EMERGENCY MOTION PURSUANT TO
                                                      LOCAL RULE 9075-1 TO FILE
 19          Scoobeez Global, Inc., ONLY              DOCUMENTS UNDER SEAL
 20          Scoobur, LLC, ONLY                       Date:
                                                      Time:
 21                                                   Dept.:    1375
                                                                United States Bankruptcy Court
 22                                                             Edward Roybal Federal Building
                                                                255 E. Temple Street
 23                                                             Los Angeles, CA 90012

 24                                                   The Hon. Julia Brand

 25

 26      The Debtors and the last four digits of their respective federal taxpayer identification
         1

    numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC
 27
    (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale, California 91214.
 28

                                                                       Case No. 2:19-by-14989-WB
                             DECLARATION ISO EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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  1                             DECLARATION OF JENNIFER NASSIRI
  2          1.      I am a member of the bar of the State of California and admitted to practice before

  3 the Court. I am an of counsel at Quinn Emanuel Urquhart & Sullivan, LLP, counsel for senior

  4 secured creditor Hillair Capital Management, LLC (“Hillair”). Except as otherwise stated, I have

  5 personal firsthand knowledge of the matters set forth in this Declaration, and if called as a witness,

  6 I would testify competently to those matters.2

  7          2.      On December 23, 2019, Amazon filed its Protective Order re: Amazon Logistics,

  8 Inc.’s Motion for Relief from Stay (the “Protective Order”) [Dkt. No. 518], designating disclosure

  9 or discovery material designated as either “CONFIDENTIAL” or “ATTORNEYS EYES ONLY”
 10 as protected material (the “Protected Material”). The Protective Order requires Hillair to “seek an

 11 order permitting it to file the Protected Material under seal, but may note for the Court that the

 12 Party filing such Protected Material does not qualify to be filed under seal, and the Designating

 13 Party may file its own motion requesting that the Protected Material be filed under seal.”

 14          3.      On February 18, 2020, I confirmed with both Amazon and the Debtors that they

 15 have no objection to Hillair filing its Supplemental Opposition, accompanying Declaration, and

 16 accompanying documents under seal.
 17          4.      Emergency relief is necessary because Hillair’s Supplemental Opposition is due on

 18 February 19, 2020, which is today.

 19          5.      The Court may authorize filing under seal under 11 U.S.C. § 107(c). For the

 20 reasons stated in the Emergency Motion, it is appropriate to do so in this case.

 21

 22          I declare under penalty of perjury under the laws of the United States of America that the

 23 foregoing is true and correct. Executed this 19th day of February, 2020, at Los Angeles,

 24 California.

 25

 26
         2
            All terms not defined herein have the same meaning as in the Emergency Motion Pursuant
 27
      to Local Rule 9075-1 to File Documents Under Seal.
 28

                                                  -1-                   Case No. 2:19-by-14989-WB
                              DECLARATION ISO EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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  1

  2 DATED: February 19, 2020

  3

  4
                                          By
  5                                         Jennifer L. Nassiri

  6

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                                            -2-                   Case No. 2:19-by-14989-WB
                        DECLARATION ISO EMERGENCY MOTION TO FILE DOCUMENTS UNDER SEAL
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Quinn Emanuel Urquhart & Sullivan, LLP, 865 S. Figueroa Street, Floor 10, Los Angeles, CA 90017

A true and correct copy of the foregoing document entitled (specify): __________________________________________
 NOTICE OF EMERGENCY MOTION AND EMERGENCY MOTION PURSUANT TO LOCAL RULE 9075-1 TO FILE
________________________________________________________________________________________________
 DOCUMENTS UNDER SEAL AND DECLARATION OF JENNIFER NASSIRI IN SUPPORT OF THE EMERGENCY
________________________________________________________________________________________________
 MOTION
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
02/19/2020
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  02/20/2020
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 The Honorable Julia W. Brand
 Edward R. Roybal Federal Building and Courthouse
 255 E. Temple Street, Suite 1382
 Los Angeles, CA 90012
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

02/19/2020         Jennifer L. Nassiri                                                         /s/ Jennifer Nassiri
 Date                         Printed Name                                                      Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                            Main Document    Page 10 of 12



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Case 2:19-bk-14989-WB        Doc 601 Filed 02/19/20 Entered 02/19/20 10:31:36              Desc
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United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov


   1. Served By Personal Delivery, Overnight Mail, Facsimile Transmission Or Email



Via Email

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